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Emailed this to Dylan 1-24-18

Customer Account # INV # Date Due _ Date | Subtotal
Sam Eljaouhari 15243]INV-2920 1/8/2018} 1/18/2018 7,500
Chung Kwong Yuew 15682]INV-3016 1/9/2018] 1/19/2018 10,000
Pradeep Singhal 8902|INV-3067 1/9/2018} 1/19/2018] 125,000
Stephen Jed 10073]INV-3209 1/11/2018} 1/21/2018} 43,750
Isabel Munoz 6530}INV-3304 1/12/2018] 1/22/2018 35,000
Shane Alfonso 7709} INV-3359 1/13/2018] 1/23/2018 15,000
Isabel Munoz 6530}INV-3373 1/13/2018] 1/23/2018 35,000
Meshari Salah Alkulaib 18376] INV-3492 1/14/2018] 1/24/2018 30,000
Aziz Denian 18711]INV-3572 1/15/2018] 1/25/2018 12,500
Abdullah Aldulaigan 10150] INV-3573 1/15/2018] 1/25/2018 25,700
TARIK KERBOUCI 19341]INV-3617 1/15/2018] 1/25/2018 15,017
Isabel Munoz 6530|INV-3675 1/15/2018] 1/25/2018 17,500
Dounia Alaoui 19839]INV-3751 1/16/2018} 1/26/2018 20,017
Rashmikant Ghevariya 15533]INV-3869 1/17/2018] 1/27/2018 7,500

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